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uNlTED sTATEs oF AMERICA, §§R§s‘§§i' §§"§§l:>&?s

Plaintiff,

VS.
CR. NO. 05-20191-B
ELMUNDO SALAZAR-TORRES,

Defendant.

report date of Monday, July 25, 2005, at 9:30 a.m., in Courtroom 1 11th Floor of the
_"_"_-_-_¢\.______h

Federal Building, l\/lemphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(lv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy trial.
lT ls so oRDERED this §§ d June, 2005.
D

. NIEL BREEN
uNl ED sTATEs DrsTRlC JUDGE

 

 

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Honorable J. Breen
US DISTRICT COURT

